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                   IN THE IJNITED STA TES D ISTRICT CO URT
                  FOR THE W ESTER N DISTR ICT OF VIRG INIA
                             D AN VILLE DIV ISION


 U NITED STA TES O F AM ERICA               :
                                            :
             V.                             : C aseN o.4:19cr00002
                                            @
                                            *

 CH R ISTO PH ER TO DD DAVIS                @
                                            @




                                 PLEA AG REEM EN T

        Ihave agreed to enter into a plea agreem entw ith the U nited States of Am erica,
 pursuantto Rule 11oftheFederalRulesofCrim inalProcedm e. Thetermsand conditions
 ofthis agreem entare asfollows:

 A. CHA RG EIS) TO W H ICH I AM PLEADING GUILTY AND W AIV ER O F
    RIG HTS

    1. The Chareesand PotentialPunishm ent

       M yattorneyhasinformedmeofthenatureofthechargets)and theelementsofthe
 chargets)thatmustbe proved by the United Statesbeyond areasonable doubtbefore I
 could befound guilty ascharged.

       1w illenteraplea ofguilty to Counts2,3 and 4 oftheIndictm ent.

        Count 2 charges m e with possessing with the intent to distribute a m easm able
 quantity ofa m ixtureand substance containing a detectable am ountofheroin,a Schedule
 I controlled substance,in violation of 21 U.S.C.jj 841(a)(1) & 841(b)(1)(C). The
 maximum statm ory penqlty is a fine of$1,000,000 and/or imprisonmentfora term of
 twenty years,plusaterm ofsupervised release ofatleastthreeyears.

        Count 3 charges m e with possessing with the intent to distribute a m easurable
 quantity ofam ixtureand substancecontaining a detectablé am ountofcocaine,a Schedule
 11 controlled substance,in violation of 21 U.S.C.jj 841(a)(1) & 841(b)(1)(C). The


                             nefendantuzas/sfv,.:.l
                                      Page 1 of 15


Case 4:19-cr-00002-JLK Document 39 Filed 07/11/19 Page 1 of 15 Pageid#: 201
 m axim um statm ory penalty is a fine of $1,000,000 and/or im prisonm ent for a term of
 twenty years,plusaterm ofsupervised release ofatleastthree years.

       Count4 chargesm e with possessing a firearm in furtherance ofa dnzg trafficking
 crime,in violation of18 U.S.C.j 924(c). The maximum statutol'
                                                             y penalty isa Gne of
 $250,000 and/orim prisonm entforaterm oflife,plusa term ofsupervised release offive
 years. There is am andatory m inim um sentenceofimprisonm entforaterm offive years.
 Iunderstand each sentenceimposed foraviolation of18U.S.C.â 924/)mustbeserved
 consecutively to every othersentence im posed.

       Iunderstandrestitutionmaybeordered,myassetsmaybesubjecttoforfeiture,and
 feesmay be im posed to pay forincarceration,supervised release,and costsofprosecution.
 In addition,a$100specialassessment,pursuantto 18U.S.C.j3013,willbeimposed per
 felony countofconviction. Ifurtherunderstand m y supervised releasem ay berevoked if
 Iviolate itsterm sand conditions. 1understand a violation ofsupervised release increases
 thepossible period ofincarceration.

       Iam pleading guilty asdescribed above because lam in factguilty and because I
believe itisin m y bestinterestto do so and notbecause ofany threatsorprom ises. There
hasbeen no promise m ade whatsoeverby anyone as to whatthe finaldisposition ofthis
m atterwillbe.

    2. W aiver ofCpnstitutionalRiehtsUpon a Plea ofGuill
       1acknowledgeIhavehad a1lofm y rightsexplainedto m eand Iexpressly recognize
 Ihavethe following constitutionalrights and,by voluntarily pleading guilty,Iknowingly
 waive and giveup these valuableconstitutionallights:

       a. The rightto plead notguilty and persistin thatplea;
       b. Therightto aspeedyandpublicjury trial;
       c. The rightto assistance ofcounselatthattrialand in any subsequentappeal;
       d. The rightto rem ain silentattrial;
       e. The righttotestify attrial;
       f. The rightto confrontand cross-exam ine witnessescalled by thegovernm ent;
       g. The rightto presentevidence and witnessesin my own behalf;
       h. The rightto com pulsory processofthe court;
       i. The lightto com pelthe attendance ofw itnessesattrial;
       j. Therighttobepresumedirmocent;


                              Defendant'sInitials: /-rD
                                      Page 2 of 15


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       k. The rightto a unanim ousguilty verdict;and
       1. The rightto appeala guilty verdict.

    3. Dism issalofC ounts

       If1 com ply w ith my obligationsunder the plea agreem ent,the United States will
 move,at sentencing,that Ibe dismissed as a defendantin any remaining cotmtts). I
 stipulate and agree the United States had probable cause to bring a1lthe counts in the
 Indictm ent which are being dismissed under this agreem ent, these charges were not
 frivolous,vexatiousorin bad faith,and 1am nota tçprevailing party''with regard to these
 charges. If'urtherwaiveany claim forattorney'sfeesand otherlitigation expensesarising
 outofthe investigation orprosecution ofthism atter.

 B. SENTEN CIN G PRO W SIO NS

    1. G eneralM atters

        I tmderstand the determ ination of what sentence should be imposed,w ithin the
 confinesofany applicable statutory m inimum sand m aximums,isin thesole discretion of
 the Court subject to its consideration of the United States Sentencing Guidelines
 (''guidelines''or''U.S.S.G'')andthefactorssetforthat18U.S.C.j 3553(a).1understand
 lw illhave an opportunity to review a.copy of m y presentence reportin advance ofm y
 sentencinghearing and may file objections,asappropriate.Iwillhavean opportunity at
 m y sentencing hearing to presentevidence,bring w im esses,cross-exam ine any witnesses
 thegovernm entcallsto testify,and argue to the Courtwhatan appropriatesentence should
 be within the confinesofthe terms ofthisagreem ent.

        I understand 1 willnot be eligible for parole during any term of im prisonm ent
im posed. 1 understand the Court is not bound by any recom m endation or stipulation
contained in this agreem ent and m ay sentence m e up to the statutory m aximum . I
understand Iwillnotbe allowed to w ithdraw m y plea ofguilty ifthe Courtdisregardsthe
stipulationsand/orrecom m endationssetforth in theplea am eem ent.

       Iunderstand ifthe sentence is m ore severe than Iexpected,Iwillhave no rightto
w ithdraw my plea. Ihave discussed sentencing issueswith m y attorney and realize there
isa substantiallikelihood Iwillbe incarcerated.

    2. Sentencine Enhancem entInform ation


                             Defendant'sInitials: J'-/-p
                                      Page 3 of 15


Case 4:19-cr-00002-JLK Document 39 Filed 07/11/19 Page 3 of 15 Pageid#: 203
       Iunderstand thatiftheUnited Statesfiled an lnform ation pursuantto Title
 21,United StatesCode,Section 851,Iwould be subjecyed to an increased penalty fora
 prior felony drug conviction as set forth in Section A of this Agreem ent.I agree and
 stipulatethat1wasconvicted ofthe follow ing qualifying dnzg offense:

       Possession with intentto distribute a Schedule 1 controlled substance; Danville,
        Virginia;Offensedate-July9,2010,.Convictiondate- October28,2010.
       IfIcom ply with my obligationsundertheplea agreem ent,theUnited States
 agrees notto t5le an Inform ation and agrees notto seek an erlhancem entof m y penalty
 rangebased onthisconviction,pursuantto21U.S.C.j851.
    3. Sentencinc G uidelines

       Istipulate and agreethata11matterspertaining to any ofthe countsofthecharging
 documentts), including any dismissed counts, are relevant conduct for purposes of
 sentencing.

        Iunderstand thatbecause ofmy priorcrim inalrecord Im ay betreated asa ''Career
 Offender''underGuidelineSection 48 1.1,ifthe Courtdeterm inesIhaveatleasttwo prior
 convictionsforfelony drug offensesand/orcrim esofviolence.

         1understand guideline sectionsm ay beapplicableto m y case and theU nited States
 and Iwillbe free to arguewhetherthese sectionsshould orshould notapply;to theextent
 the argum ents are notinconsistentwith the stipulations,recom m endations and term s set
 forth in thispleaagreement.

       I agree to acceptresponsibility form y conduct. If1comply w ith m y obligations
 underthisplea agreem entand acceptresponsibility form y conduct,theU nited Statesw ill
 recomm end the Courtgrant me a two-levelreduction in my offense level,ptlrsuantto
 U.S.S.G.j3E1.1(a)and,ifapplicable,atsentencing,willmovethatIreceiveaone-level
 reduction in my offense level,pursuant to U.S.S.G.j 3E1.1(b),for purposes of any
 guidelines calculation. H owever,Istipulate thatifIfailto acceptresponsibility for m y
 conductorfailto com ply w ith any provision ofthisplea agreem ent,Ishould notreceive
 creditforacceptance ofresponsibility.

    4. subsiantialAssistance



                              Defendant'
                                       sInitials. 6T7
                                      Page 4 of 15


Case 4:19-cr-00002-JLK Document 39 Filed 07/11/19 Page 4 of 15 Pageid#: 204
       Iunderstand the United Statesretains a11ofitsrightspursuantto Fed.R.Crim .P.
 35(b),U.S.S.G.j5K1.1 and 18 U.S.C.j 3553(e). Iunderstand even ifIfully cooperate
 with 1aw enforcem ent,the United States isunderno obligation to m ake a m otion forthe
 reduction ofm y sentence.Iunderstand iftheUnited Statesm akesam otion forareduction
 in m y sentençe,the Court,after hearing the evidence,will detennine how m uch of a
 departure,ifany,Ishould be given.

    5. M onetarv O bliaations

       a. SpecialAssessm ents.Finesand Restitution

       I understand persons convicted of crim es are required to pay a m andatory
 assessm entof $100.00 perfelony countof conviction. I agree 1willsubm itto the U .S.
 Clerk'sOfsce,a certified check,m oney order,or attom ey'strustcheck,made payable to
 thetçclerk,U.S.DistriciCourt''forthetotalamountdueformandatory assessmentsprior
to entering m y plea ofguilty.

       Iagreeto pay restim tion forthe entire scopeofm y crim inalconduct,including,but
not lim ited to,a11 m atters included as relevant conduct. Specifically, I agree to pay
$150.00 in restltution to the City ofD anville for the dam aged No Parking sign.In
addition,I agree to pay any restitm ion required by law,including,but not limited to,
amountsduepursuantto 18USC jj2259,3663,and/or3663A.lunderstand andagreea
requirem entIpay restitution fora11ofthe above-stated m attersw illbe im posed upon m e
aspartofany finaljudgmentinthismatter.
       I f'urther agree to m ake good faith efforts toward paym ent of all m andatory
assessm ents,restitution and fines,with w hatever m eans I have atm y disposal. 1 agree
failureto do so w illconstitm ea violation ofthisagreem ent.Iw illexecuteany docum ents
necessary to release the funds Ihave in any repository,barlk,investm ent,otherGnancial
instimtion,or any other location in order to m ake partial or totalpaym enttow ard the
m andatory assessm ents,restitution and finesimposed in m y case.

       lfully understand restitution and forfeiture areseparate financialobligationsw hich
m ay be imposed upon acrim inaldefendant. 1furtherunderstand thereisaprocesswithin
the D epartm ent of Justice whereby, in certain circum stances, forfeited f'unds m ay be
applied to restitution obligations. Iunderstand no one hasm ade any prom ises to m e that
such a processwillresultin adecrease in my restitm ion obligationsin this case.




                             Defendant'sInitialst J'(/
                                                     i.




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       Iunderstand and agree,pursuantto 18 U.S.C.jj 3613 and 3664(m),whatever
 monetary penalties are imposed by the Courtwillbe due immediately and subjectto
 imm ediate enforcem entby theUnited Statesasprovided forby statute.1understand ifthe
 Courtimposes a schedule of paym ents,that schedule is only a minim um schedule of
 paym entsand notthe only m ethod,noralim itation on the m ethods,availableto theUnited
 Statesto enforcethejudgment.
        1agree to grantthe United States aw age assignm ent,liquidate assets,orcomplete
 any othertasksw hich w illresultin im m ediatepaym entin 1 11,orpaym entin the shortest
 timeinwhichf'u11paymentcanbereasonablymadeasrequiredunder18U.S.C.j3572(* .
        Iexpressly authorize theUnited StatesAttom ey'sOfficeto obtain a creditreporton
 m ein orderto evaluatem y ability to satisfy any snancialobligation imposedby theCourt.

       1agree the following provisions,orw ords ofsim ilareffect,should be included as
 conditions ofprobation and/or supervised release:(1) fç-rhe defendantshallnotify the
 FinancialLitigation Unit,United States Attorney's Office,in writing,of any interestin
 property obtained,directly or indirectly,including any interestobtained under any other
 nam e,or entity,including a trujt,partnership or corporation after the execution of this
 agreementuntila11fines,restitution,moneyjudgmentsand monetaryassessmentsarepaid
 in full''and (2)çç-f'
                     he Defendantshallnotify the FinancialLitigation Unit,United States
 A ttorney'sOffice,in w riting,atleast30 dayspriorto transfening any interestin property
 owned directly orindirectly by Defendant,including any interestheld orownedunderany
 other nam e or entity, including trusts, partnership and/or corporations until a11 fines,
 restimtion,moneyjudgmentsand monetary assessmentsarepaid infu11.''
       The parties will also jointly recommend that as a condition of probation or
 supervised release,Defendant will notify the Financial Litigation Unit,United States
 Attorney's OfGce,before Defendanttransfers any interestin property owned directly or
 indirectly by D efendant,including any interestheld or owned under any othernam e or
 entity,includingtrusts,partnership and/orcoporations.See 18U.S.C.j3664(k),(n).
        RegardlessofwhetherornottheCourtspecifically directsparticipation orim poses
 a schedule of paym ents,I agree to fully participate in inmate employm ent under any
 available orrecom m ended program soperated by the Bureau ofPrisons.

        Iagreeanypaymentsmadebymeshallbeappliedfullytothenon-jointandseveral
 portion ofmy outstanding restitution balance untilthe non-jointand severalportion of


                              Defendant'sInitials: J-
                                                    z'
                                                     3)
                                       Page 6 of 15


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 restim tion ispaid in 1 11,unlessthe Courtdeterm inesthatto do so would cause ahardship
 to avictim oftheoffensets).
       b. Du* to M akeFinancialDisclosures

        Iunderstand in thiscasethere isapossibility substantialfinesand/orrestitution m ay
 be imposed. In order to assistthe United States as to any recom m endation and in any
 necessary collection ofthose sum s,1agree,ifrequested by theUnited States,to provide a
 com plete and truthf'ulfinancialstatem entto the United StatesAttorney'sOffce,within 30
 daysoftherequestor3 dayspriorto sentencing,whicheverisearlier,detailing a1lincom e,
 expendim res,assets, liabilities, gifts and conveyances by myself, my spouse and my
 dependentchildren and any cop oration,partnership orotherentity in which Ihold orhave
 held an interest,forthe period starting on January 1stof the year prior to the year m y
 offense began and continuing through the date ofthe statem ent. This Gnancialstatem ent
 shallbe subm itted in a fonm acceptableto theUnited StatesAttorney'sofGce.

        From the tim e of the signing of this agreem ent or the date I sign the financial
 statem ent,whichever is earlier,1 agree notto convey anything of value to any person
 withoutthe authorization ofthe United StatesAttorney'sOffice.

       c. Understandinc ofCollection M atters

       1understand:

       1. aspartofthejudgmentinthiscaselwillbeorderedtopayoneormoremonetary
          obligations;
       2. paym entshould bem ade as ordered by the Court;
       3. 1mustm ailpayments,by cashier'scheck orm oney order,payable tothe ''Clerk,
          U .S.DistrictCourt''to:210 Franklin Road,S.W .,Suite540,Roanoke,Virginia
          24011;and include m y nam e and courtnum beron the check orm oney order;
       4. interest(unlesswaivedby theCourt)and penaltiesmustbeimposed forlateor
          missed paym entj;
       5. theUnited Statesm ayfilelienson m y realand personalproperty thatwillrem ain
           inplaceuntilmonetaryobligationsarepaidinfull,oruntilliensexpire(thelater
           of20 yearsfrom dateofsentencing orreleasefrom incarceration);
       6. ifIretain counselto representm e regarding theUnited States'effortsto collect
          any ofm y m onetary obligations,1w illim mediately notify the United States
          Attorney'sOffice,ATTN : FinancialLitigation Unit,P.O.Box 1709,Roanoke,


                               Defendant'sInuials: f7%
                                      Page 7 of 15


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           Virginia24008-1709,in writing,ofthe factofm y legalrepresentation;and
        7. 1, or my attorney if an attorney will represent me regarding collection of
           m onetary obligations, can contact the U.S. Attorney's Office's Financial
           Litigation Unitat540/857-2259.

 C.FO RFEITURE

         Iagreeto theforfeitureofthe assetssetforth in thissection on the groundssetforth
 in the OrderofForfeiture. Iagree this Order ofForfeim re shallbe entered by the Court
 and shallbe finalatthe tim e Ienterm y plea. To the extentnecessary,lw aive notice of
 forfeiture as to any asset I have agreed to forfeit and waive oral pronouncem ent at
 sentencing.

       Thçassetstobe forfeited areasfollows:

       1. G lock,m odel19,9m m pistol,serialnum ber KSD 565
       2. Glock m agazinesand 9m m am m unition
       3. 50 roundsof.40 caliber am m unition
       4. 3 roundsH ornady am m unition CAL:9
       5. $834 in U.S.Currency

        I agree to cooperate fully in the forfeiture of the property to be forfeited. If
 applicable,Iagree to withdraw any existing claim s and/oragree notto file any claim s in
 any adm inistrative or civilforfeim re proceeding relating to assets seized as partof this
 investigation and not otherwise nam ed herein. I agree to execute a11 docum ents,
 stipulations,consentjùdgments,courtorders,billsofsale,deeds,affidavitsoftitle,andthe
 like,which are reasonably necessary to pass cleartitle to the United States or otherwise
 effectuateforfeitureoftheproperty. 1furtheragreeto fully cooperate and testify tnlthfully
 on behalf ofthe United States in any legalaction necess>ry to perfectthe United States'
 interest,including butnotlim ited to any ancillary hearing in this crim inalaction orin any
 civillitigation.

         I further agree to assist in identifying, locating, returning, and forfeiting a11
 forfeitableassets,including theknown assetsofotherpersons.

       1furtheragreethattheforfeiturejrovisionsofthispleaagreementareintendedto,
 and will,survivem e,notwithstanding the abatem entofany underlying criminalconviction
 aftertheexecution ofthisagreem ent.The forfeitability ofanyparticularpropertypursuant



                               Defendant'sInitials: 6-J3
                                                       )
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 to thisagreem entshallbedeterm ined asifIhad survived,and thatdeterm ination shallbe
 binding upon m y heirs,successois and assignsuntilthe agreed forfeimre,including any
 agreedmoneyjudgmentamount,iscollected in 111.To theextentthatforfeiturepursuant
 to this agreem entrequires me to disgorge wrongfully obtained crim inalproceeds,1agree
 thatthe forfeim re isprim arily rem edialin nature.

        1understand and agreethatforfeiture ofthisproperty isproportionateto the degree
 and natureoftheoffensecomm itted by m e.Ifreely and knowingly waivea11constitutional
 and statutory challenges in any manner(including directappeal,habeas corpus,or any
 othermeans)to any forfeiturecarried outin accordancewith thisPlea Agreementon any
 grounds,including thatthe forfeiture constitm esan excessiveGneorpunishm ent.'1further
 understand and agree thisforfeiture is separate and distinctfrom ,and isnotin the nature
 of,orin lieu of,any penalty thatm ay beim posed by the Court.

       Iunderstand and agreethatany monetary sumts)the United Stateshas agreed to
 releasewillbe lessany debtoWed to the United States,any agency oftheUnited States,or
 any otherdebtin which theUnited Statesisauthorized to collect.

        Ihereby releaseand foreverdischargetheUnited States,itsofficers,agents,servants
 and em ployees,itsheirs,successors,orassigns,from any and a11actions,causesofaction,
 suits,proceedings,debts,dues,contracts,judgments,damages,claims,and/ordemands
whatsoever in law or equity which 1 ever had,now have,orm ay have in the future in
cormection with theseizure,detention and forfeim reofthe described assets.

D .ADDITION AL M ATTERS

    1. W aiver ofRichtto Appeal

       Knowing thatIhave a rightofdirectappealofmy sentenceunder 18 U.S.C.j
 37424a)and the groundslisted therein,Iexpressly waivetherightto appealmy sentence
on those grounds oron any ground. In addition,Ihereby waive m y rightofappealasto
any and al1otherissues in this m atter and agree Iw illnotfile a notice of appeal. I am
know ingly and voluntarily waiving any rightto appeal. By signing this agreem ent,I am
explicitly and irrevocably directing m y attorney not to file a notice of appeal.
Notwithstanding any otherlanguageto thecontrary,Iam notwaiving my rightto appeal
ortohavemy Jf//raey#/eanoticeofappeal,astoany issuewhich cannotbewaived,by
law. lunderstand the United Statesexpressly reservesa1lofitsrightsto appeal. I agree
and understand ifInleany courtdocument(exceptforan appealbased on an issue


                              Defendant'sInitials:-/:7
                                      Page 9 of 15


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 thatcannotbew aived,by Iaw,or a collateralattack based on inefféctiveassistanceof
 counsel)seeking to disturb,in any way,any order imposed in my case such action
 shallconstitute a failure to com ply with a provision ofthisagreem ent.

    2. W aiver ofRiehtto Collaterallv Attack

         Iw aive any rightIm ay have to collaterally attack,in any futtzre proceeding,any
 orderissued in thism atter,unlesssuch attack isbased on ineffectiveassistanceofcounsel,
 and agree 1w illnotfile any docum entw hich seeksto disturb any such order,unlesssuch
 filing isbased on ineffectiveassistance ofcounsel. 1 agree and understand thatifIflle
 any courtdocument(exceptforan appealbased on an issuenototherwisewaived in
 this agreem ent; an appealbased on an issue that cannot be waived,by Iaw ;or a
 collateralattack based on ineffectiveassistanceofcbunsel)seekingtodisturb,in any
 wayrany order im posed in my case,such action shallconstitute a failure to com ply
 with > provision ofthis agreem ent.

    3. lnform ation AccessW aiver

       Iknow ingly and voluntarily agree to w aive a11rights,whether asserted directly or
by a representative,to requestor receive from any departm entor agency of the U nited
States any records pertaining to the investigation orprosecution of this case,including
w ithoutlim itation any recordsthatm ay be soughtunderthe Freedom ofInform ation Act,
 5U.S.C.j552,orthePrivacyActof1974,5U.S.C.j552a.
    4. W aiver ofW itnessFee

       1agree to waive a1lrights,claim sorinterestin any witnessfee 1m ay be eligibleto
receive pursuantto 28 U.S.C.j 1821,formy appearance atany Grand Jury,witness
 conferenceorcourtproceeding.

    5. Abandonm entofSeized Item s

       By signing thisplea agreem ent,Ihereby abandon m y interestin,and consentto the
officialuse,destm ction orotherdisposition ofeach item obtained by any 1aw enforcem ent
agency during the course oftheinvestigation,unlesssuch item isspecifcally provided for
in another provision of this plea av eement. 1 further waive any and a11 notice of any
proceeding to im plem enttheofGcialuse,destnlction,abandonm ent,orotherdisposition of
such item s.


                             Defendant'sInitialst 6 l
                                     Page 10 of 15


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    6. Deportation

       IunderstandifIam notacitizenoftheUnitedStates,Imaybesubjecttodeportation
 from the United States,denied United States citizenship,and denied adm ission to the
 United Sta'tes in the future, asaresultofmy éonviction forthe offensets)to which 1am
 pleading guilty.

       penialofFederal:epqflts
                             -




       Atthe discretion ofthe court,Iunderstand Im ay also be denied any ora11federal
 benefits,asthatterm isdefined in 21U.S.C.j862,(a)forup tofiveyearsifthisismyfirst
 conviction of a'federal or state offense consisting of the distribution of controlled
 substances,orup to one year if this is m y first conviction of a federalor state offense
 ipvolving thepossession ofa controlled substance;or(b)forup toten yearsifthisismy
 second conviction ofa federalorstate offense consisting ofthe distribution ofcontrolled
 substances,orup to fiveyearsifthisism y second orm ore conviction ofa federalorstate
 offense involving the possession ofa controlled substance. Ifthis is m y third or m ore
 conviction of a federal or state offense consisting of the distribution of controlled
 substahces,1understand 1could be perm anently ineligible for al1federalbeneGts,asthat
 term isdefined in21U.S.C.j862(d).
    8. A dm issibiliw ofStatem ents

       Iunderstand if1failto plead guilty in accordancew ith thisagreem entorwithdraw
 my pleats) of guilty any statements I make (including this plea agreement,and my
 admission ofguilt)duringorinpreparation foranyguiltypleahearing,sentencinghearing,
 orotherhearing and any statem ents Im ake or have m ade to 1aw enforcem entagents,in
 any setting (including during a proffer),may be used againstme in this or'
                                                                          any other
 proceeding. Iknow ingly waive any rightIm ay haveunderthe Constitution,any statute,
 rule of other source of law to have such statem ents, or evidence derived from such
 statem ents,suppressed or excluded from being adm itted into evidence and stipulate that
 such statem entscan be adm itted into evidence.

    9. A dditionalOblications

       1agree notto comm itany ofthe following acts:



                             Defendant'sInltials:      /
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           * attem ptto withdraw m y guilty plea;
           * deny 1comm itted any crim e to which Ihavepled guilty;
           * makeoradoptanyargumentsorobjectionsto.thepresentencereportthatare
               incoàsistentw ith thispleaagreem ent;
           * obstructjustice;
           *   failto comply w ith any provision ofthisplea agreement;
           @   Comm itany othercrim e;                          ' '
           *   m ake afalse statem ent;or
           *   failto entermy pleaofguilty when scheduled to do so,unlessacôntinuance
               isagreed toby theUnited StatesAttorney's Ofsce and granted by the Court.

 E. REM EDIES AVAILABLE TO TH E IJN ITED STATES

        I hereby stipulate and agree thatthe United States Attorney's office m ay,at its
 election,pursue any ora11ofthefollowing rem ediesif1failto comply w ith any provision
 ofthisagreement: (a)declarethispleaagreementvoid;(b)refusetodismissany charges;
 (c)reinstate any dismissed charges;(d)file new charges;(e)withd
                                                               .raw any substantial
 assistance m otion m ade,regardlessofwhether substantialassistance hasbeen pedbrm ed;
 (9 refusetoabidebyanyprovision,stipulations,and/orrecommend:tionscontaiùedin this
 pleaagreement;or(g)takeanyotheractionprovidedforunderthisagreementorbystatute,
 regulation orcourtrule.

        In addition,Iagree if,forany reason,m y conviction issetaside,orIfailtp com ply
 with any obligation underthepleaagreem ent,theU nited Statesm ay Gle,by indictm entor
 inform ation, any charges against m e which w ere filed and/or could have been filed
 concerning them attersinvolved in theinstantinvestigation.Ihereby waivem yrightunder
 FederalRule ofCrim inalProcedure 7 to be proceeded againstby indictmentand consent
 tothefiling ofan information againstm econcem ing any such charges.Ialso herebyw aive
 any statm e oflim itationsdefense asto any such charges.

       The remedies setforth above are cumulative and notmutizally exclusive. The
 United States'election ofany ofthese rem edies,otherthqn declaring thisplea agreem ent
 void,doesnot,in qny way,term inate m y obligatioù to com ply with theterm softhe plea
 agreem ent. Theuse ofççif'in thissection doesnotm ean çsif,and only if.''

 F. G ENER AL PR OVISIO NS

    1. Lim itation ofA ereem ent


                              Defendant'sInitials: 6Tlh
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         This agreem ent only binds the U nited States Attorney's Office for the W estern
                                                                          ,

 D istrictof Virginia. Itdoes notbind any state or localprosecutor,otherU nited State.
 Attorney's Oftsce or otheroffice or agency ofthe United States Governm ent,including,
 butnotlim ited to,the Tax D ivision of the United States Departm entof Justice,orthe
 lntem al Revenue Service of the United States Departm ent of the Treasury. These
 individualsandagenciesremain freetoprosecutemeforanyoffensets)committedwithin
 theirrespectivejurisdictionsk
    2. EffectofM v Siznature

        Iunderstand m y signature on this agreementcopstitutes a binding offerby m e to
 enterinto thisagreement. lunderstand theU nited Stateshasnotacdepted m y offeruntilit
 signsthe agreem ent.

    3. Effective Representation

         Ihavediscussedthetermsofthe foregoing pleaagreem entand a11matterspertaining
 to the chargesagainstm e with my attorney and am ftllly satisfied with m y attorney and m y
 attorney'sadvice. Atthistim e,Ihave no dissatisfaction or com plaintwith m y attorney's
 representation, Iagreeto make know n to the Coul'tno laterthan atthe tim e ofsentencing
 any dissatisfaction orcom plaintIm ay havew ith m y attorney'srepresentation.

    4. M isconduct

        If 1 have any information concerning any conduct of any govem m ent attorney,
 agent,employee,orcontractorwhich could beconstrued asm isconductoran ethical,civil,
 orcrim inalviolation,lagree to m akesuch conductknown to theUnitèd StatesAttorney's
 Office and the Cotu't,in writing,as soon as possible,butno later than m y sentencing
 hearing.

    5. FinalM atters

        Iunderstand athorough presentenceinvestigation willbe conducted and sentencing
 recom m endations independentofthe United States Attorney'sOffice willbe m ade by the
 presentencepreparer,which the Courtm ay adoptortake into consideration. 1understand
 any calculation regarding the guidelinesby the U nited States Attorney's Office orby m y
 attorney isspeculativeand isnotbinding upon theCourt,theProbation OfficeortheUnited


                               Defendant'sInitials: & l
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 States Attorney's Oftsce. No guarantee hasbeen m ade by anyone regarding the effectof
 theguidelineson m y case.

        Iunderstand the prosecution willbe free to allocute ordescribe the nature ofthis
 offense and the evidence in this case and m ake any recom m endations notprohibited by
 thisagreem ent.

        1understand the United States retains the right,notwithstanding any provision in
 thisplea agreem ent,to inform the Probation Office and the Courtofa11relevantfacts,to
 addressthe Courtwith respecttothenatureand seriousnessofthe'offensets),to respond
 to any questions raised by the Court,to correctany inaccuracies or inadequacies in the
 preàentence reportand to respond to any statementsm ade to the Courtby oron behalfof
 the defendant.

        1w illingly stipulate there is a sufficient factualbasis to supporteach and every
 matelial factualallegation contained within the charging documentts) to wliich I am
 pleading guilty.

        lunderstand thisagreem entdoesnotapply to any crim es orchargesnotaddressed
 in thisagreem ent. Iunderstand iflshould testify falsçly in thisorin arelated proceeding
 1may be prosecuted forperjury and statementsImay have given authoritiespursuantto
 this agreem entmay beused againstm ein such aproceeding.

         1understand m y attorney w illbe freeto argue any m itigqting factorson m y behalf;
 to the extentthey arenotinconsistentwith theterm softhis agreem ent.Iunderstand Iwill
 havean opportunity to personally addressthe Courtpriorto sentencebeing imposed.

        Thiswriting setsforth the entire understanding between the partiesand constitutes
 the complete plea agreementbetw een the United StatesAttorney forthe W estern District
 of Virginia and m e,and no other additionaltelnns oragreem ents shallbe entered except
 and unlessthose otherterms oragreem entsare in wliting and signed by the parties.This
 plea agreem entsupersedesallpriorunderstandings,prom ises,agreements,or conditions,
 ifany,between theUnited Statesand m e.

        Ihave consulted with m y attorney and fully understand a1lm y rights. lhave read
 thispleaagreem entand carefully review ed every partofitwith m y attom ey. Iunderstand
 this agreem ent and I voluntarily agree to it. I have notbeen coerced,threqtened, or
 prom ised anything other than the term s of this plea agreem ent, described above, in


                              Defendant'sInitialst &
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 exchange for my plea of guilty. Being aw are ofallofthe possible consequences ofm y
 plea,Ihaveindependently decidedto enterthisplea ofm y own freewill,and am affinning
 thatagreem enton thisdateand by m y signam re below .

 D ate:                                                             '
              /                                risopherToddDavis,Defendant

          Ihave fully explained a11rightsavailable to m y clientw ith respectto the offenses
 listed in thepending charging documentts). Ihave carefully reviewed every partofthis
 plea agreem entw ith m y client. To m y knowledge,m y client'sdecision to enterinto this
 agreem entisan inform ed and voluntary one.

       IfIwillcontinueto representm y clientregardingtheUnited States'effortsto collect
 any m onetaly obligations, 1 will notify the United States Attorney's Office,A TTN :
 FinancialLitigation Unit,P.O.Box 1709,Roanoke,Virginia 24008-1709,in writing,of
 thefactofmycontinued legalrepresentationwithin 10daysoftheentry ofjudgmentin
 thiscasè.

 Date: nla//#                                          f
                                                       ,#'
                                           R dy Cargill,Esq.
                                           Counselfor Defendant



 1)ate: -1 ti lG
                                           K ri n .Jo nson
                                           AssistantU nited StatesAttorney
                                           Virginia Bar No.71115




                                Defendant'sInitials.
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